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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                             District of Maine


                          Lori Savage                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No. 1:21-cv-00104-GZS
                                                                    )
        Life Insurance Company of North America                     )
                             &                                      )
              Pixelle Specialty Solutions LLC                       )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Pixelle Specialty Solutions LLC
                                           c/o Corporation Service Company
                                           45 Memorial Circle
                                           Augusta, ME 04330




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Tamra Wallace, Esq.
                                           Lambert Coffin
                                           2 Monument Square, Suite 400
                                           Portland, ME 04101



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:             04/15/2021
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